                             IN THE UNITED STATES BANKRUPTCY COURT


                                     FOR THE DISTRICT OF DELAWARE



In re:                                                             )         Chapter 11
                                                                   )
                            1
KG Winddown,Inc.                                                   )         Case No. 19-10953(CSS)
                                                                   )         (Jointly Administered)
                                Debtors.                           )

            NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING ON
          MARCH 2,2020 AT 11:00 A.M.(PREVAILING EASTERN TIME),BEFORE
        THE HONORABLE CHRISTOPHER S. SONTCHI AT THE UNITED STATES
         BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE,LOCATED
          AT 824 NORTH MARKET STREET,5TH FLOOR,COURTROOM NO.6,
                                     WILMINGTON.DELAWARE 19801^


                    THIS HEARING HAS BEEN CANCELLED BY THE COURT
                     AS NO MATTERS ARE SCHEDULED TO GO FORWARD.




RESOLVED MATTERS:

1.         Debtors’ Fourth Omnibus Objection (Non-Substantive)to Certain Claims(Amended and
           Late Filed)[Filed: 1/29/20](Docket No. 582)

           Response Deadline: January 29,2020, at 4:00 p.m.
           Responses Received: None as ofthe date ofthis Notice of Agenda.

           Related Documents:

           a.       [Proposed] Order Sustaining Debtors’ Fourth Omnibus Objection(Non-
                    Substantive)to Certain Claims(Amended and Late Filed)[Filed: 1/29/20]
                    (Docket No. 582, Exhibit A)


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    The Debtors and the last four digits oftheir respective taxpayer identification numbers include: KG Wind Down,Inc.(£Tc/a
    Kona Grill, Inc.)(6690); KGRH Wind Down,Inc.(fiTc/a Kona Restaurant Holdings, Inc.)(6703); KGS Wind Down,Inc.(ffk/a
    Kona Sushi, Inc.)(4253); KGM Wind Down,Inc.(fiTc/a Kona Macadamia, Inc.)(2438); KGTR Wind Down,Inc.(fiTc/a Kona
    Texas Restaurants, Inc.)(4089); KGIH Wind Dovm,Inc.(filc/a Kona Grill International Holdings, Inc.)(1841); KGB Wind
    Down,Inc.(£Tc/a Kona Baltimore, Inc.)(9163); KGI Wind Down,Inc.(fi^a Kona Grill International, Inc.)(7911); and KGPR
    Wind Down,Inc.(fTc/a Kona Grill Puerto Rico, Inc.)(7641).

^ Any party who wishes to attend telephonically is required to make arrangements through CourtCall by telephone
(866-582-6878)or by facsimile(866-533-2946).


DOCS DE:227595.2 50045/001
        b.       Notice of Submission of Proofs of Claim in Connection with Debtors’ Fourth
                 Omnibus Objection (Non-Substantive) to Certain Claims(Amended and Late
                 Filed)[Filed: 2/14/20](Docket No. 601)

        c.       Certification of No Objection Regarding Debtors’ Fourth Omnibus Objection
                 (Non-Substantive) to Certain Claims(Amended and Late Filed)[Filed: 2/24/20]
                 (Docket No. 609)

        d.       [Signed] Order Sustaining Debtors’ Fourth Omnibus Objection (Non-Substantive)
                 to Certain Claims(Amended and Late Filed)[Filed: 2/25/20](Docket No. 612)

        Status: The Court has entered an order on this matter.

2.      Debtors’ Fifth Omnibus Objection (Substantive) to Certain Claims That Have Already
        Been Satisfied By the Debtors [Filed: 1/29/20](Docket No. 583)

        Response Deadline: January 29, 2020, at 4:00 p.m.

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       [Proposed] Order Sustaining Debtors’ Fifth Omnibus Objection (Substantive) to
                 Certain Claims That Have Already Been Satisfied By the Debtors [Filed: 1/29/20]
                 (Docket No. 583, Exhibit A)

        b.       Notice of Submission of Proofs of Claim in Connection with Debtors’ Fifth
                 Omnibus Objection (Substantive) to Certain Claims That Have Already Been
                 Satisfied By the Debtors [Filed: 2/14/20](Docket No. 602)

        c.       Certification of No Objection Regarding Debtors’ Fifth Omnibus Objection
                 (Substantive) to Certain Claims That Have Already Been Satisfied By the Debtors
                 [Filed: 2/24/20](Docket No. 610)

        d.       [Signed] Order Sustaining Debtors’ Fifth Omnibus Objection (Substantive) to
                 Certain Claims That Have Already Been Satisfied By the Debtors [Filed: 2/25/20]
                 (Docket No. 613)

        Status: The Court has entered an order on this matter.

3.      Debtors’ Motion for an Order Pursuant to Bankruptcy Code Sections 105 & 363 and
        Bankruptcy Rule 9019 for Order Approving Settlement Agreement and Mutual Release
        Between Kona Grill, Inc. and Blue Cross and Blue Shield of Arizona, Inc. Resolving
        Disputes Regarding Administration of Kona Grill, Inc.’s Self-Insured Employee Benefit
        Plan [Filed: 2/5/20](Docket No. 590)

         Response Deadline: February 19, 2020, at 4:00 p.m.



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                 Inc. Resolving Disputes Regarding Administration of Kona Grill, Inc.’s Self-
                 Insured Employee Benefit Plan [Filed: 2/5/20](Docket No. 590, Exhibit A)

        b.       Certification of No Objection Regarding Debtors’ Motion for an Order Pursuant
                 to Bankruptcy Code Sections 105 & 363 and Bankruptcy Rule 9019 for Order
                 Approving Settlement Agreement and Mutual Release Between Kona Grill, Inc.
                 and Blue Cross and Blue Shield of Arizona, Inc. Resolving Disputes Regarding
                 Administration of Kona Grill, Inc.’s Self-Insured Employee Benefit Plan [Filed:
                 2/24/20](Docket No. 611)

        c.       [Signed] Order Pursuant to Bankruptcy Code Sections 105 & 363 and Bankruptcy
                 Rule 9019 for Order Approving Settlement Agreement and Mutual Release
                 Between Kona Grill, Inc. and Blue Cross and Blue Shield of Arizona, Inc.
                 Resolving Disputes Regarding Administration of Kona Grill, Inc.’s Self-Insured
                 Employee Benefit Plan [Filed: 2/25/20](Docket No. 616)

        Status: The Court has entered an order on this matter.

4.      Debtors’ Motion for Entry of an Order (I) Dismissing the Chapter 11 Cases;(II)
        Authorizing the Abandonment of Certain Property;(III) Authorizing the Rejection of
        Contracts and Leases;(IV) Authorizing the Dissolution of the Debtors;(V)Terminating
        Claims and Noticing Services; and (VI) Granting Related Relief[Filed: 2/7/20](Docket
        No. 593)

        Response Deadline: February 21, 2020, at 4:00 p.m.

        Responses Received:

        a.       Informal comments from the Office of the United States Trustee.

        b.       Letter Response of Michelle A. Thompson Dated February 21, 2020 [Filed:
                 2/25/20](Docket No. 614)

        Related Documents:


        a.       [Proposed] Initial Order Granting Debtors’ Motion for Entry of an Order:(I)
                 Authorizing the Abandonment of Certain Property;(II) Authorizing the Rejection
                 of Contracts and Leases;(III) Authorizing the Dissolution of the Debtors;(IV)
                 Authorizing Debtors to Certify the Estates Have Been Fully Administered and
                 May Be Dismissed; and(V)Granting Related Relief[Filed: 2/7/20](Docket No.
                 593, Exhibit A)

        b.       Certification of Counsel Regarding Debtors’ Motion for an Order Pursuant to
                 Bankruptcy Code Sections 105 & 363 and Bankruptcy Rule 9019 for Order
                 Approving Settlement Agreement and Mutual Release Between Kona Grill, Inc.
                 and Blue Cross and Blue Shield of Arizona, Inc. Resolving Disputes Regarding
                 Administration of Kona Grill, Inc.’s Self-Insured Employee Benefit Plan [Filed:
                 2/24/20](Docket No. 608)

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        b.       Certification of Counsel Regarding Debtors’ Motion for an Order Pursuant to
                 Bankruptcy Code Sections 105 & 363 and Bankruptcy Rule 9019 for Order
                 Approving Settlement Agreement and Mutual Release Between Kona Grill, Inc.
                 and Blue Cross and Blue Shield of Arizona, Inc. Resolving Disputes Regarding
                 Administration of Kona Grill, Inc.’s Self-Insured Employee Benefit Plan [Filed:
                 2/24/20](Docket No. 608)

        c.       [Signed] Initial Order Granting Debtors’ Motion for Entry of an Order:(I)
                 Authorizing the Abandonment of Certain Property;(II) Authorizing the Rejection
                 of Contracts and Leases;(III) Authorizing the Dissolution of the Debtors;(IV)
                 Authorizing Debtors to Certify the Estates Have Been Fully Administered and
                 May Be Dismissed; and (V) Granting Related Relief[Filed: 2/25/20](Docket No.
                 615)

        Status: The Court has entered an initial order on this matter.




Dated: February 26, 2020

                                              PACHULSKI STANG ZIEHL & JONES LLP



                                              /s/ James E. O’Neill
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                                              James E. O’Neill(DE Bar No. 4042)
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